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                                       ORDERED.

         Dated: May 21, 2019




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

In re:

DON KARL JURAVIN, a/k/a                              Case No.: 6:18-bk-06821-CCJ
DON ADI JURAVIN,
                                                     Chapter 7
          Debtor.
                                /

           ORDER GRANTING DCS REAL ESTATE INVESTMENTS, LLC AND
             BELLA COLLINA PROPERTY OWNER’S ASSOCIATION, INC.’S
          JOINT MOTION FOR RELIEF FROM THE AUTOMATIC STAY [Doc 76]

          THIS CASE came on for hearing on May 14, 2019, on the Joint Motion for Relief From

the Automatic Stay [Doc. 76] (the “Motion”), filed by DCS Real Estate Investments, LLC

(“DCS”) and Bella Collina Property Owner’s Association, Inc. (“Bella Collina”) (collectively the

“Creditors”). The Court has reviewed the pleadings, heard arguments of counsel, and considered

the positions of the parties.

          Accordingly, it is ORDERED:

          1.     The Motion [Doc 76] is GRANTED.

          2.     The automatic stay is lifted as to Case No. 2017-CA-0667 in the Fifth Judicial

Circuit in Lake County, Florida (“State Court Lawsuit”) in accordance with 11 U.S.C. §362(d).




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       3.     As a result, the Creditors and all other parties to the State Court Lawsuit, are

granted complete relief from the automatic stay as to the State Court Lawsuit including, but not

limited, prosecuting the causes of action therein which may include sanctions or damages against

Don Karl Juravin, a/k/a Don Adie Juravin.

       4.     The stay set forth in Federal Rule of Bankruptcy Procedure 4001(a)(3) is hereby

waived.



William C. Matthews, Creditors’ Attorney is directed to serve a copy of this order on interested
parties who are non-CM/ECF users and file a Proof of Service within 3 days of entry of the order.




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